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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
              v.                             )                    8:05CR163
                                             )
ADAM SALINAS TREVINO,                        )                      ORDER
DANIEL LEE WALKER, and                       )
CLEO JO WALKER,                              )
                                             )
                      Defendants.            )
                                             )


       IT IS ORDERED that the Motion to Continue Trial (#121) filed by Cleo Jo Walker
is set for a telephonic hearing before the undersigned magistrate judge on Thursday, October
27, 2005 at 3:45 p.m. Moving counsel, Bill Switzer, shall initiate the call to the court at 402-
661-7340.

       DATED October 27, 2005.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
